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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                           Plaintiff,          )
                                               )
v.                                             )       Case No. 4:10cr3052
                                               )
DA VAN CAO,                                    )
                                               )
                           Defendant.          )

                      ORDER FOR ISSUANCE OF SUBPOENA

      THIS MATTER came before the Court on the 27th day of August, 2010, on the

Motion of the defendant for an Order allowing the issuance of Subpoena. (filing 21).

The Court, being fully advised in the premises, finds that said Motion should be

granted.

      IT IS THEREFORE ORDERED that the Clerk of the District Court shall issue the

subpoena as identified in defendant’s Motion. Said subpoena shall be served by the

United States Marshal’s office.

      Dated this 27th day of August, 2010.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               The Honorable Cheryl R. Zwart
                                               United States Magistrate Judge
